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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

___________________________________
                                    )
                                    )
KAREN READ,                         )
            Petitioner              )
                                    )
v.                                  )                               No. 25-CV-10399-FDS
                                    )
NORFOLK COUNTY SUPERIOR             )
COURT, MASSACHUSETTS                )
ATTORNEY GENERAL,                   )
            Respondents             )
                                    )
___________________________________ )

                    PETITIONER’S RESPONSE TO SERVICE ORDER

       Now comes the petitioner Karen Read, by and through undersigned counsel, and,

pursuant to the Service Order issued by this Honorable Court on February 19, 2025, respectfully

submits this Response.

       1.      Petitioner has served a copy of her Petition, Memorandum in Support, and all

exhibits on Norfolk County Superior Court and the Massachusetts Attorney General’s Office by

hand-delivery (via courier) on February 19, 2025 and February 18, 2025, respectively.

       2.      Petitioner also served a copy of the materials on Assistant District Attorney Caleb

Schillinger in the Norfolk District Attorney’s Office via email, and undersigned counsel

confirmed receipt with Attorney Schillinger over the phone.

       3.      On February 20, 2025, undersigned counsel confirmed over the phone that the

Massachusetts Attorney General’s Office has received the materials and that no further service is

required.


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                                         Respectfully Submitted,
                                         KAREN READ
                                         By Her Attorneys,

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Dated: February 20, 2025




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                                CERTIFICATE OF SERVICE

        I, Martin G. Weinberg, hereby certify that on this date, February 20, 2025, a copy of the
foregoing document has been served via Electronic Court Filing system on all registered
participants.

                                                     /s/ Martin G. Weinberg
                                                     Martin G. Weinberg, Esq.




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